         Case 24-59309-pwb                   Doc 22        Filed 10/07/24 Entered 10/07/24 19:18:05                             Desc Main
                                                          Document      Page 1 of 30




Fill in this information to identify the case:

Debtor name         Butch Thompson Enterprises, Inc.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF GEORGIA

Case number (if known)    24-59309
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       October 7, 2024                 X /s/ Judson C. Thompson
                                                           Signature of individual signing on behalf of debtor

                                                            Judson C. Thompson
                                                            Printed name

                                                            CEO/Owner
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
          Case 24-59309-pwb                                   Doc 22               Filed 10/07/24 Entered 10/07/24 19:18:05                                                          Desc Main
                                                                                  Document      Page 2 of 30
Fill in this information to identify the case:

Debtor name           Butch Thompson Enterprises, Inc.

United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF GEORGIA

Case number (if known)              24-59309
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $           854,087.81

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $           854,087.81


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        2,172,166.65


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           848,901.19


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           3,021,067.84




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
          Case 24-59309-pwb                  Doc 22        Filed 10/07/24 Entered 10/07/24 19:18:05                                   Desc Main
                                                          Document      Page 3 of 30
Fill in this information to identify the case:

Debtor name         Butch Thompson Enterprises, Inc.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF GEORGIA

Case number (if known)       24-59309
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Capital City Bank                                 Checking                              7621                                             $0.52



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                           $0.52
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.

11.       Accounts receivable


          11b. Over 90 days old:                       769,087.29     -                                    0.00 =....                            $769,087.29
                                        face amount                         doubtful or uncollectible accounts


Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                                      page 1
          Case 24-59309-pwb                 Doc 22        Filed 10/07/24 Entered 10/07/24 19:18:05                         Desc Main
                                                         Document      Page 4 of 30
Debtor       Butch Thompson Enterprises, Inc.                                            Case number (If known) 24-59309
             Name



12.       Total of Part 3.                                                                                                      $769,087.29
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                           Net book value of       Valuation method used      Current value of
          Include year, make, model, and identification numbers         debtor's interest       for current value          debtor's interest
          (i.e., VIN, HIN, or N-number)                                 (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.   2021 GMC Yukon XL                                                $58,000.00   Blue Book                                  $0.00


          47.2.   2016 Ford F-150                                                  $36,000.00   Blue Book                                  $0.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          Road TEc RX500 Milling Machine                                           $85,000.00   Appraisal                            $85,000.00



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                       page 2
           Case 24-59309-pwb                 Doc 22        Filed 10/07/24 Entered 10/07/24 19:18:05                          Desc Main
                                                          Document      Page 5 of 30
Debtor        Butch Thompson Enterprises, Inc.                                             Case number (If known) 24-59309
              Name


51.        Total of Part 8.                                                                                                      $85,000.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                     page 3
           Case 24-59309-pwb                            Doc 22            Filed 10/07/24 Entered 10/07/24 19:18:05                                        Desc Main
                                                                         Document      Page 6 of 30
Debtor          Butch Thompson Enterprises, Inc.                                                                    Case number (If known) 24-59309
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.52

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $769,087.29

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $85,000.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $854,087.81           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $854,087.81




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 4
          Case 24-59309-pwb                        Doc 22         Filed 10/07/24 Entered 10/07/24 19:18:05                                 Desc Main
                                                                 Document      Page 7 of 30
Fill in this information to identify the case:

Debtor name         Butch Thompson Enterprises, Inc.

United States Bankruptcy Court for the:           NORTHERN DISTRICT OF GEORGIA

Case number (if known)             24-59309
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Advance Servicing, Inc.                      Describe debtor's property that is subject to a lien                     Unknown                  Unknown
      Creditor's Name

      15 Main Street
      Holmdel, NJ 07733-2105
      Creditor's mailing address                   Describe the lien
                                                   UCC-1
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Equify Financial                             Describe debtor's property that is subject to a lien                 $272,166.65                  Unknown
      Creditor's Name
      3120 SW Frwy
      SUITE 101, PMB# 84356
      Houston, TX 77098
      Creditor's mailing address                   Describe the lien
                                                   UCC-1
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 4
         Case 24-59309-pwb                       Doc 22          Filed 10/07/24 Entered 10/07/24 19:18:05                                Desc Main
                                                                Document      Page 8 of 30
Debtor      Butch Thompson Enterprises, Inc.                                                      Case number (if known)      24-59309
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      First National Community
2.3                                                                                                                        $400,000.00      $854,087.81
      Bank                                        Describe debtor's property that is subject to a lien
      Creditor's Name                             A/R; Rx-500 Milling Machine
      104 Village Walk
      Dallas, GA 30132
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   G&G Funding Group, LLC                      Describe debtor's property that is subject to a lien                       Unknown          Unknown
      Creditor's Name
      57 W. 57th Street
      Floor 4
      New York, NY 10019
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      Great Midwest Insurance
2.5                                                                                                                    $1,500,000.00          Unknown
      Co.                                         Describe debtor's property that is subject to a lien
      Creditor's Name                             Indemnity Agreement
      800 Gessner Road
      Suite 600
      Houston, TX 77024
      Creditor's mailing address                  Describe the lien
                                                  UCC-1


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2 of 4
         Case 24-59309-pwb                       Doc 22          Filed 10/07/24 Entered 10/07/24 19:18:05                              Desc Main
                                                                Document      Page 9 of 30
Debtor      Butch Thompson Enterprises, Inc.                                                      Case number (if known)    24-59309
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




      Greenwich Capital
2.6                                                                                                                        Unknown          Unknown
      Management                                  Describe debtor's property that is subject to a lien
      Creditor's Name
      108 Greenwich Street
      5th Floor
      New York, NY 10006
      Creditor's mailing address                  Describe the lien
                                                  Judgment Lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   Trustmark National Bank                     Describe debtor's property that is subject to a lien                     Unknown          Unknown
      Creditor's Name
      Attn: Loan Operations
      PO Box 1182
      Jackson, MS 39215-1182
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3 of 4
          Case 24-59309-pwb                       Doc 22          Filed 10/07/24 Entered 10/07/24 19:18:05                                 Desc Main
                                                                 Document     Page 10 of 30
Debtor       Butch Thompson Enterprises, Inc.                                                      Case number (if known)       24-59309
             Name



       Wells Fargo Equipment
2.8                                                                                                                           Unknown                Unknown
       Finance                                     Describe debtor's property that is subject to a lien
       Creditor's Name

       600 South 4th Street, MAC
       Minneapolis, MN 55415
       Creditor's mailing address                  Describe the lien
                                                   UCC-1
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



                                                                                                                            $2,172,166.6
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       5

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        David A. Harris, Esq.
        Bovis, Kyle, Burch & Medlin                                                                          Line   2.5
        200 Ashford Center N. Ste 500
        Atlanta, GA 30338

        J. David Stuart, Esq.
        Suite 500                                                                                            Line   2.6
        1825 Barrett Lakes Blvd.
        Kennesaw, GA 30144




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 4 of 4
           Case 24-59309-pwb                     Doc 22        Filed 10/07/24 Entered 10/07/24 19:18:05                                        Desc Main
                                                              Document     Page 11 of 30
Fill in this information to identify the case:

Debtor name        Butch Thompson Enterprises, Inc.

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF GEORGIA

Case number (if known)           24-59309
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          Georgia Department of Labor                         Check all that apply.
          148 Andrew Young Int'l Blvd.                           Contingent
          Suite 826                                              Unliquidated
          Atlanta, GA 30303                                      Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              For Notice Purposes Only
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          Georgia Department of Revenue                       Check all that apply.
          1800 Century Boulevard, NE                             Contingent
          Suite 9100                                             Unliquidated
          Atlanta, GA 30345                                      Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              For Notice Purposes Only
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 6
                                                                                                              39305
          Case 24-59309-pwb                      Doc 22         Filed 10/07/24 Entered 10/07/24 19:18:05                                           Desc Main
                                                               Document     Page 12 of 30
Debtor       Butch Thompson Enterprises, Inc.                                                           Case number (if known)          24-59309
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $0.00    $0.00
          Internal Revenue Service                             Check all that apply.
          Centralized Insolvency                                  Contingent
          P.O. Box 7346                                           Unliquidated
          Philadelphia, PA 19101-7346                             Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               For Notice Purposes Only
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.4       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $0.00    $0.00
          Internal Revenue Service                             Check all that apply.
          401 W. Peachtree St., NW                                Contingent
          Stop 334-D                                              Unliquidated
          Atlanta, GA 30308                                       Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               For Notice Purposes Only
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.5       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $0.00    $0.00
          Paulding County Tax Comm.                            Check all that apply.
          240 Constitutional Blvd.                                Contingent
          Room 3006                                               Unliquidated
          Dallas, GA 30132                                        Disputed

          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,077.50
          1 Oak Trucking, LLC                                                    Contingent
          463 Pine Street                                                        Unliquidated
          No. 1 SE                                                               Disputed
          Acworth, GA 30102-2959
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,280.00
          ALIF 1 Trucking, Inc.                                                  Contingent
          655 Village Square                                                     Unliquidated
          Stone Mountain, GA 30083                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 6
          Case 24-59309-pwb                  Doc 22         Filed 10/07/24 Entered 10/07/24 19:18:05                                     Desc Main
                                                           Document     Page 13 of 30
Debtor      Butch Thompson Enterprises, Inc.                                                Case number (if known)            24-59309
            Name

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $35,471.50
         Amerisure                                                    Contingent
         2300 Cabot Drive                                             Unliquidated
         Suite 200                                                    Disputed
         Lisle, IL 60532
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $206,566.98
         AQC Traffic Control LLC                                      Contingent
         618 Thorton Road                                             Unliquidated
         Suite 3-450                                                  Disputed
         Lithia Springs, GA 30122
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $18,642.72
         ASC Group, Inc.                                              Contingent
         9876 Main Street                                             Unliquidated
         Suite 145                                                    Disputed
         Woodstock, GA 30188
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,366.79
         Baldwin Paving, Inc.                                         Contingent
         1014 Kenmill Drive, NW                                       Unliquidated
         Marietta, GA 30060                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,767.50
         Bartlett Tree Experts                                        Contingent
         PO Box 671142                                                Unliquidated
         Marietta, GA 30066                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,500.00
         Big Apple Services                                           Contingent
         2370 Rockaway Industrial Blvd                                Unliquidated
         Conyers, GA 30012                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,569.89
         Blossman Gas, Inc.                                           Contingent
         127 Big Oak Drive                                            Unliquidated
         Suite 400                                                    Disputed
         Canton, GA 30115
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 3 of 6
          Case 24-59309-pwb                  Doc 22         Filed 10/07/24 Entered 10/07/24 19:18:05                                     Desc Main
                                                           Document     Page 14 of 30
Debtor      Butch Thompson Enterprises, Inc.                                                Case number (if known)            24-59309
            Name

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $24,276.68
         CAT Financial                                                Contingent
         5205 N. O'Conner Blvd                                        Unliquidated
         Suite 100                                                    Disputed
         Irving, TX 75039
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $22,736.27
         Cowin Equipment                                              Contingent
         5710 River View Road, SE                                     Unliquidated
         Mableton, GA 30126                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,775.84
         Ernst Concrete                                               Contingent
         1475 Lockhart Drive                                          Unliquidated
         Kennesaw, GA 30144                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $89,302.38
         Foley Products Co., Inc.                                     Contingent
         208 Jefferson Street                                         Unliquidated
         Newnan, GA 30263                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $100,612.50
         Four Hats Inc                                                Contingent
         540 Marksmen Court                                           Unliquidated
         Fayetteville, GA 30214                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $28,586.25
         Gwinnett Concrete, LLC                                       Contingent
         46 Old Peachtree Road, NE                                    Unliquidated
         Suwanee, GA 30024                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         KLC Financial, LLC                                           Contingent
         c/o Dennis A. Dressler, Esq.                                 Unliquidated
         101 W. Grand Ave., Suite 404                                 Disputed
         Chicago, IL 60654
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 4 of 6
          Case 24-59309-pwb                  Doc 22         Filed 10/07/24 Entered 10/07/24 19:18:05                                     Desc Main
                                                           Document     Page 15 of 30
Debtor      Butch Thompson Enterprises, Inc.                                                Case number (if known)            24-59309
            Name

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,225.00
         Large and Gilbert, Inc.                                      Contingent
         6849 Peachtree Dunwood Road                                  Unliquidated
         Building A-2                                                 Disputed
         Atlanta, GA 30328
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $70,416.59
         Oakbridge Insurance Agency                                   Contingent
         8358 Main Street                                             Unliquidated
         Woodstock, GA 30188                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,671.06
         Oldcastle Infrastructure Inc                                 Contingent
         747 Allenridge Point                                         Unliquidated
         Lexington, KY 40510                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         SA White Oil Company                                         Contingent
         590 Atlanta Street, SE                                       Unliquidated
         Marietta, GA 30060                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,932.88
         Selective Insurance Company                                  Contingent
         PO Box 7266                                                  Unliquidated
         London, KY 40742                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $49,630.61
         Sellam Trucking, Inc.                                        Contingent
         3156 Bridge Walk Drive                                       Unliquidated
         Lawrenceville, GA 30044                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,505.46
         Smyrna Ready Mix Concrete LLC                                Contingent
         100 Hollingsead Circle                                       Unliquidated
         Murfreesboro, TN 37129                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 5 of 6
          Case 24-59309-pwb                      Doc 22        Filed 10/07/24 Entered 10/07/24 19:18:05                                          Desc Main
                                                              Document     Page 16 of 30
Debtor       Butch Thompson Enterprises, Inc.                                                       Case number (if known)            24-59309
             Name

3.24      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $52,160.61
          Thomas Concrete of Georgia Inc                                       Contingent
          2500 Cumberland Pkwy                                                 Unliquidated
          Suite 200                                                            Disputed
          Atlanta, GA 30339
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?       No     Yes


3.25      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $62,725.00
          Tidwell Traffic Solutions                                            Contingent
          PO Box 191445                                                        Unliquidated
          Atlanta, GA 31119                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.26      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $8,524.00
          Travelers Insurance                                                  Contingent
          PO Box 660317                                                        Unliquidated
          Dallas, TX 75266-0317                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.27      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $11,577.18
          Vulcan Construction Materials                                        Contingent
          800 Mt. Vernon Hwy., NE                                              Unliquidated
          Suite 200                                                            Disputed
          Atlanta, GA 30328
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                             0.00
5b. Total claims from Part 2                                                                           5b.   +    $                       848,901.19

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                          848,901.19




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 6 of 6
          Case 24-59309-pwb                  Doc 22       Filed 10/07/24 Entered 10/07/24 19:18:05                                  Desc Main
                                                         Document     Page 17 of 30
Fill in this information to identify the case:

Debtor name       Butch Thompson Enterprises, Inc.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF GEORGIA

Case number (if known)     24-59309
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
         Case 24-59309-pwb                 Doc 22      Filed 10/07/24 Entered 10/07/24 19:18:05                                Desc Main
                                                      Document     Page 18 of 30
Fill in this information to identify the case:

Debtor name      Butch Thompson Enterprises, Inc.

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF GEORGIA

Case number (if known)   24-59309
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Carolyn                     553 E. New Salem Common                                   Great Midwest                      D   2.5
          Thompson                    Marietta, GA 30064                                        Insurance Co.                      E/F
                                                                                                                                   G




   2.2    Jud Thompson                553 E. New Salem Common                                   First National                     D   2.3
                                      Marietta, GA 30064                                        Community Bank                     E/F
                                                                                                                                   G




   2.3    Jud Thompson                553 E. New Salem Common                                   Great Midwest                      D   2.5
                                      Marietta, GA 30064                                        Insurance Co.                      E/F
                                                                                                                                   G




   2.4    Jud Thompson                553 E. New Salem Common                                   Advance Servicing,                 D   2.1
                                      Marietta, GA 30064                                        Inc.                               E/F
                                                                                                                                   G




   2.5    Jud Thompson                553 E. New Salem Common                                   G&G Funding Group,                 D   2.4
                                      Marietta, GA 30064                                        LLC                                E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
         Case 24-59309-pwb             Doc 22      Filed 10/07/24 Entered 10/07/24 19:18:05                           Desc Main
                                                  Document     Page 19 of 30
Debtor    Butch Thompson Enterprises, Inc.                                        Case number (if known)   24-59309


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Jud Thompson             553 E. New Salem Common                             Greenwich Capital                  D   2.6
                                   Marietta, GA 30064                                  Management                         E/F
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2
          Case 24-59309-pwb                 Doc 22       Filed 10/07/24 Entered 10/07/24 19:18:05                                 Desc Main
                                                        Document     Page 20 of 30



Fill in this information to identify the case:

Debtor name         Butch Thompson Enterprises, Inc.

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF GEORGIA

Case number (if known)    24-59309
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      For the fiscal year:                                                                Operating a business                             $6,731,323.00
      From 10/01/2021 to 9/30/2022
                                                                                          Other


      For the fiscal year:                                                                Operating a business                             $6,833,029.00
      From 10/01/2020 to 9/30/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
          Case 24-59309-pwb                  Doc 22        Filed 10/07/24 Entered 10/07/24 19:18:05                                   Desc Main
                                                          Document     Page 21 of 30
Debtor       Butch Thompson Enterprises, Inc.                                                   Case number (if known) 24-59309



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                  Total amount of value          Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                   Value of property

      Wells Fargo                                      Roller                                                          May 2024                     Unknown


      Equify Financial                                 Construction Equipment                                          May 2024                   $600,000.00


      Kubota                                           Skid Steer                                                      May 2024                    $36,000.00


      Kubota                                           UTV                                                             May 2024                    $15,000.00



6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                 Amount
                                                                                                                       taken
      Metro Materials                                  Garnishment                                                     March 2024                  $36,000.00
                                                       Last 4 digits of account number:

      Thomas Concrete                                  Garnishment                                                     April 2024                  $32,000.00
                                                       Last 4 digits of account number:


Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   Great Midwest Insurance Co.               Indemnity                   USDC, Northern District of                     Pending
             v.                                        Agreement                   Georgia                                        On appeal
             Butch Thompson Enterprises,
                                                                                                                                  Concluded
             Inc., et al.
             1:23-cv-03440-SEG


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
          Case 24-59309-pwb                 Doc 22       Filed 10/07/24 Entered 10/07/24 19:18:05                                 Desc Main
                                                        Document     Page 22 of 30
Debtor       Butch Thompson Enterprises, Inc.                                                  Case number (if known) 24-59309



             Case title                               Nature of case              Court or agency's name and            Status of case
             Case number                                                          address
      7.2.   Thomas Concrete of Georgia,              Garnishment                 State Court, Muscogee                       Pending
             Inc.                                                                 County                                      On appeal
             v.
                                                                                                                              Concluded
             Butch Thompson Enterprises,
             Inc.
             SC2024CV001123

      7.3.   Smyrna Ready Mix Concrete,               Contract                    Superior Court, Cobb                        Pending
             LLC                                                                  County                                      On appeal
             v.
                                                                                                                              Concluded
             Butch Thompson Enterprises,
             Inc., et al.
             2024-0048425

      7.4.   AQC Traffic Control, LLC                 Open Account                State Court, Cobb County                    Pending
             v.                                                                                                               On appeal
             Butch Thompson Enterprises,
                                                                                                                              Concluded
             Inc.
             23-A-5658

      7.5.   Tidwell Traffic Solutions, Inc.          Contract                    State Court, Cobb County                    Pending
             v.                                                                                                               On appeal
             Butch Thompson Enterprises,
                                                                                                                              Concluded
             Inc.
             23-A-2646

      7.6.   Metro Materials, Inc.                    Garnishment                 State Court, Cobb County                    Pending
             v.                                                                                                               On appeal
             Butch Thompson Enterprises,
                                                                                                                              Concluded
             Inc.
             23-A-2847

      7.7.   Four Hats, Inc.                          Contract                    Superior Court, Cobb                        Pending
             v.                                                                   County                                      On appeal
             Butch Thompson Enterprises,
                                                                                                                              Concluded
             Inc.
             23106160

      7.8.   Equify Financial, LLC                    Contract                    District of Tarrant Co,                     Pending
             v.                                                                   Texas                                       On appeal
             Butch Thompson Enterprises,
                                                                                                                              Concluded
             Inc.
             048-354294-24

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address             Description of the gifts or contributions                 Dates given                          Value




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
           Case 24-59309-pwb                     Doc 22    Filed 10/07/24 Entered 10/07/24 19:18:05                                 Desc Main
                                                          Document     Page 23 of 30
Debtor      Butch Thompson Enterprises, Inc.                                                      Case number (if known) 24-59309



Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:     Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received               If not money, describe any property transferred               Dates               Total amount or
               the transfer?                                                                                                                         value
               Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.

Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
           Case 24-59309-pwb                  Doc 22       Filed 10/07/24 Entered 10/07/24 19:18:05                                    Desc Main
                                                          Document     Page 24 of 30
Debtor      Butch Thompson Enterprises, Inc.                                                     Case number (if known) 24-59309




               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5
           Case 24-59309-pwb                 Doc 22       Filed 10/07/24 Entered 10/07/24 19:18:05                                      Desc Main
                                                         Document     Page 25 of 30
Debtor      Butch Thompson Enterprises, Inc.                                                    Case number (if known) 24-59309



     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Large & Gilbert                                                                                                    2020 - 2022


      26a.2.        Unison Globus                                                                                                      2023 - 2024



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6
          Case 24-59309-pwb                  Doc 22       Filed 10/07/24 Entered 10/07/24 19:18:05                                   Desc Main
                                                         Document     Page 26 of 30
Debtor      Butch Thompson Enterprises, Inc.                                                    Case number (if known) 24-59309



    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        First National Community Bank
                    104 Village Walk
                    Dallas, GA 30132

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Judson C. Thompson                      553 E. New Salem Common                             CEO                                       100%
                                              Marietta, GA 30064



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

               Name and address of recipient           Amount of money or description and value of               Dates                 Reason for
                                                       property                                                                        providing the value
      30.1 Judson C. Thompson                                                                                                          Regular Salary
      .                                                $150,000                                                  Weekly                Through 1/24

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 7
          Case 24-59309-pwb             Doc 22        Filed 10/07/24 Entered 10/07/24 19:18:05                                Desc Main
                                                     Document     Page 27 of 30
Debtor      Butch Thompson Enterprises, Inc.                                                Case number (if known) 24-59309



   Name of the parent corporation                                                                  Employer Identification number of the parent
                                                                                                   corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                        Employer Identification number of the pension
                                                                                                   fund




Official Form 207                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
           Case 24-59309-pwb                 Doc 22        Filed 10/07/24 Entered 10/07/24 19:18:05                               Desc Main
                                                          Document     Page 28 of 30
Debtor      Butch Thompson Enterprises, Inc.                                                    Case number (if known) 24-59309




Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         October 7, 2024

/s/ Judson C. Thompson                                          Judson C. Thompson
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   CEO/Owner

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 9
            Case 24-59309-pwb                  Doc 22       Filed 10/07/24 Entered 10/07/24 19:18:05                               Desc Main
                                                           Document     Page 29 of 30
B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                             Northern District of Georgia
 In re       Butch Thompson Enterprises, Inc.                                                                 Case No.      24-59309
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 10,000.00
             Prior to the filing of this statement I have received                                        $                 10,000.00
             Balance Due                                                                                  $                       0.00

2.   $      338.00      of the filing fee has been paid.

3.   The source of the compensation paid to me was:

                  Debtor             Other (specify):      Judson C. Thompson

4.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
     e. [Other provisions as needed]


7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     October 7, 2024                                                          /s/ J. Robert Williamson
     Date                                                                     J. Robert Williamson 765214
                                                                              Signature of Attorney
                                                                              Scroggins, Williamson & Ray, P.C.
                                                                              4401 Northside Parkway
                                                                              Suite 230
                                                                              Atlanta, GA 30327
                                                                              404-893-3880 Fax: 404-893-3886
                                                                              rwilliamson@swlawfirm.com
                                                                              Name of law firm
         Case 24-59309-pwb          Doc 22    Filed 10/07/24 Entered 10/07/24 19:18:05                   Desc Main
                                             Document     Page 30 of 30



                                          United States Bankruptcy Court
                                               Northern District of Georgia
 In re   Butch Thompson Enterprises, Inc.                                              Case No.    24-59309
                                                              Debtor(s)                Chapter     7




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Butch Thompson Enterprises, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




October 7, 2024                                  /s/ J. Robert Williamson
Date                                             J. Robert Williamson 765214
                                                 Signature of Attorney or Litigant
                                                 Counsel for Butch Thompson Enterprises, Inc.
                                                 Scroggins, Williamson & Ray, P.C.
                                                 4401 Northside Parkway
                                                 Suite 230
                                                 Atlanta, GA 30327
                                                 404-893-3880 Fax:404-893-3886
                                                 rwilliamson@swlawfirm.com
